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NORTHERN DISTRICT OF TEXAS

 

FILED

IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF TEXAS JAN 31 2020

FORT WORTH DIVISION

UNITED STATES OF AMERICA By U.S. DISTRICT COURT

Deputy

V. No. 4:20-MJ-058

JAMES OWEN WOOD (01)

CRIMINAL COMPLAINT

I, the undersigned Complainant, being duly sworn, state the following is true and
correct to the best of my knowledge and belief:

Between on or about October 27, 2019 and November 3, 2019, James Owen
Wood, the defendant, knowingly received by any means, any visual depiction using any
means and facility of interstate and foreign commerce, knowing the production of such
visual depiction involves the use of a minor engaging in sexually explicit conduct and
such visual depiction is of such conduct.

Specifically, using the Whisper application and the Internet, Wood

received the following visual depictions of a minor engaged in sexually explicit

 

 

 

conduct:
Image Identifier File Description
Image 1 An image depicting an adult penis penetrating the
vagina of a minor female.
Image 2 An image depicting a nude prepubescent female with
her legs spread and the focus of the camera on her
genitals.

 

 

 

 

In violation of 18 U.S.C. § 2252(a)(2).

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I further state I am a Special Agent with the United States Department of
Homeland Security, Homeland Security Investigations (HSI), and that this complaint is
based on the following facts gathered through an investigation I have conducted, my
training and experience, and information provided to me by other law enforcement
officers.

INTRODUCTION

1. I have been employed as a Special Agent with the United States
Department of Homeland Security, Homeland Security Investigations (HSI), since
September 2014. I was previously employed as a Special Agent with the United States
Secret Service from September 2004 to September 2014. I am a graduate of the Criminal
Investigator Training Program and the HSI Special Agent Training Academy. As a result
of my employment with HSI, my duties include, but are not limited to, the investigation
and enforcement of Titles 8, 18, 19, 21 and 31 of the United States Code. I am an
“investigative or law enforcement officer of the United States” within the meaning
defined in 18 U.S.C. § 2510(7), in that I am an agent of the United States authorized by
law to conduct investigations of, and make arrests for, federal offenses.

2. I am currently assigned to the HSI Dallas Field Office, Child Exploitation
Group, where I investigate criminal violations relating to the sexual exploitation of
children, including illegal coercion and enticement, and the production, distribution,
receipt and possession of child pornography, in violation of 18 U.S.C. §§ 2422, 2251,

2252 and 2252A.

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Based on my training and experience, I am aware that it is a violation of 18 U.S.C. §

2252(a)(2) for an individual to use any means and facility of interstate commerce to

receive a depiction of a minor engaged in sexually explicit activity.

OVERVIEW OF INVESTIGATION

3. On November 3, 2019, HSI San Francisco, California arrested a defendant,

hereinafter referred to as “Suspect #1,” for violating 18 U.S.C. § 2422(b), Coercion and

Enticement of a Minor. Pursuant to the arrest, HSI San Francisco seized an Alcatel TCL

and a Samsung Galaxy 8 from Suspect #1. During the subsequent analysis of the Alcatel

TCL, HSI San Francisco found images depicting child pornography stored on the device.
4, The search of Suspect #1’s Alcatel TCL also revealed the device was used

to communicate using the Whisper! application. During a review of the contents in the

Whisper application, HSI discovered communications between Suspect #1 and Whisper

user “Tiger[redacted]”. An HSI Task Force Officer (TFO) documented the

communications with digital screen shots, as the contents within the Whisper application

could not be captured using forensic software.

 

' Whisper is a free mobile application that allows users to share and receive anonymous posts called
“Whispers.” “Whispers” are described as words superimposed over an image. The application also allows
users to exchange messages, photos and videos.

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The following messages were exchanged between Suspect #1 and
“Tiger[redacted] on or about the week preceding November 3, 20197:

Tiger[redacted]: “mmmmmm yes”
Tiger[redacted]: “Would love to havea young date to the movies”
Suspect #1: “Me to, although there’s a mon in Washington whos’s all ready
to let me have her young daughter”
Tiger[redacted]: “Mmmmm perfect”
Tiger[redacted]: “How old is her daughter”
Suspect #1: “Her daughter turns 11 in January”
Tiger[redacted]: “mmmmmm fuck yes”
Tiger[redacted]: “Perfect age”
Suspect #1: “And she doesn’t care if I fondle or fuck her with her at home”
Tiger[redacted]: “That’s perfect...making me hard”
Tiger[redacted]: “I bet she’s got the sweetest little pussy”
Suspect #1: “I’m going up there in January to fuck her, taking her virginity”
Tiger[redacted]: “Yess”
Tiger[redacted]: “Mmmmm she’! be so fucking tight”
Suspect #1: “Apparently she soaks her panties she gets so wet”
Suspect #1: “Just add ky and I should be able to slide right in”
Tiger[redacted]: “Mmmm fuck that’s hot. Does she masturbate already?”
Tiger[redacted]: “Yesss”
Suspect #1: “I think so yes”
Tiger[redacted]: “Tight and slippery”
Tiger[redacted]: ““Good..she’s already a horny little thing”

Tiger[redacted]: “Im getting so hard thinking about it”

 

* The exact dates of these messages are not available because the content was manually reviewed on
Suspect #1’s device. However, the application indicated these messages were exchanged within a week
before Suspect #1’s arrest.

Suspect #1: “Appaerntly”

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Suspect #1: “Her mom says that since I plan on dating her daughter, I can
flirt, fondle, finger and probably fuck her soon after we actually meet”
Suspect #1: “I should just go up there now and enjoy her”
Tiger[redacted]: “mmmmmm yes”

Tiger[redacted]: “id be fucking and fondling her every day”

Suspect #1: “I’m going to be”

Tiger[redacted]: “Sexy little tiny ass.....i°d love to eat her pussy”
Suspect #1: “I’m going to do that too..lol”

Tiger[redacted]: “Im so fucking horny”

Suspect #1: “Here’s something to help you then....”

Tiger[redacted]: “I need to stroke my dick to some little girls”

Suspect #1: Distributes Image 1, described on Page 1 of this affidavit
Tiger[redacted]: “mmmmm yes please”

Tiger[redacted]: “mmmmm fuck yes”

Tiger[redacted]: “Damn she’s perfect”

Suspect #1: “Yes she is”

Suspect #1: “How about.....”

Suspect #1: Distributes Image 2, described on Page 1 of this affidavit
Suspect #1: “That”

Tiger[redacted]: “mmmmm fuck yes”

Tiger[redacted]: “Got me throbbing”

Suspect #1: “Hope that helps”

Tiger[redacted]: “Definitely”

I have reviewed the files received by “Tiger[redacted]” during this message exchange,
and I submit that they meet the federal definition of child pornography found in 18

U.S.C. § 2256.

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5. On or about November 21, 2019, HSI San Francisco served a search
warrant on Whisper for records and information relating to several users who
communicated with CLINE, including “Tiger[redacted]”. On or about January 7, 2020,
Whisper complied with the warrant and provided the contents and records associated with
these accounts. During a preliminary review of the “Tiger[redacted]” Whisper account,
HSI San Francisco learned that the Global Positioning System (GPS) coordinates
associated with this user’s posts resolved to the Dallas/Fort Worth, Texas area. Based on
that information, the investigation regarding “Tiger[redacted] was forwarded to the HSI
Dallas Child Exploitation Group.

6. On January 9, 2020, HSI Dallas received the referral and I was assigned the
case. During my review of the contents of the “Tiger[redacted] account,” I observed
“Whispers” shared by this user that pertained to communicating with minors and showing
a sexual interest in children. For example, on September 24, 2019, “Tiger[redacted]
posted the “Whisper” “God I love seeing the girls walking home from school.” GPS data
associated with this “Whisper” indicated it was posted near Central High School in Fort
Worth, Texas. Additionally, on November 30, 2019, “Tiger[redacted]” posted a
“Whisper” with the text “Girls, hmu. Age is Unimportant, you’re desire to please is
important.”

7. GPS records for the “Tiger[redacted]” account indicated that from
November 30, 2019 to December 14, 2019, the user of this account posted approximately
fifteen (15) “Whispers” from GPS coordinates that appeared to resolve to [redacted]
Shields Street, Fort Worth, Texas.

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There were also approximately twenty (20) “Whispers” posted from GPS coordinates that
resolve to Children’s Medical Center in Dallas, Texas.

8. Based in part on this information, on January 30, 2020, HSI executed a
federal search warrant at [redacted] Shields Street, Fort Worth, Texas. Agents executed
the warrant as Wood arrived at the residence. I approached Wood and informed him of
the search warrant, and asked if he would be willing to speak in private regarding the
investigation, to which he agreed. While other agents conducted the search of the
residence, I conducted a post-Miranda interview with Wood. During this interview,
Wood claimed ownership of the “Tiger[redacted]” Whisper account under investigation.
Wood acknowledged that the account had been deactivated, and admitted to using the
account to engage in sexually explicit conversations regarding children. Wood further
admitted to previously receiving child pornography using Whisper, but advised that he
would often report the users who posted such material. Of note, during the preliminary
on-scene review of Wood’s cellular phone, HSI discovered the Whisper application
stored on the device.

9. The conversation referenced in paragraph 4 of this affidavit indicates that
Wood, through the “Tiger[redacted]” account, knowingly received child pornography.

10. Based on my training and experience in child exploitation investigations, I
am aware that use of the Whisper application, including sending and receiving instant
messages and digital files, requires use of the Internet, a means and facility of interstate

and/or foreign commerce.

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CONCLUSION
11. Based on the facts set forth in this affidavit, I respectfully submit there is
probable cause to believe that between on or about October 27, 2019 and November 3,
2019, James Owen Wood knowingly used any means and facility of interstate

commerce to receive a depiction of a minor engaged in sexually explicit activity, in

violation of 18 U.S.C.§ 2252(a)(2).

Sf Usbe—
Jeffre¥ S. Williams
Special Agent

Homeland Security Investigations

gt
Sworn to before me and subscribed in my presence this iq day of January

2020, at (0° 30 a.m. in Fort Worth, Texas.

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JEFF . CURETON
Unite tes Magistrate Judge

 
